Case 1:07-cv-01080-LJO-GSA Document 82

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City of Wasco

UNITED STATES D

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ISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

ROGER McINTOSH,
Plaintiff,

VS.

NORTHERN CALIFORNIA UNIVERSAL
ENTERPRISES COMPANY, a California
corporation; LOTUS DEVELOPMENTS,
LLP; THE CITY OF WASCO, a municipal
corporation, and DOES 1 through 50,
inclusive,

Defendants.

CITY OF WASCO,
Cross-Complainant,
Vs.
NORTHERN CALIFORNIA UNIVERSAL
ENTERPRISES COMPANY, a California

corporation,

Cross-Defendant.

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4846-4019-8915 1

CASE NO.: 1:07-CV-01080-LJO-GSA

SECOND AMENDED CROSS-
COMPLAINT FOR CONTRACTUAL
INDEMNITY

[California Civil Code §§ 2772, 2778];
JURY TRIAL DEMAND

SECOND AMENDED CROSS-COMPLAINT FOR CONTRACTUAL INDEMNITY

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Defendant/Cross-Complainant City of Wasco (the “City” or “Cross-Complainant”)
alleges:

1, This Court has supplemental jurisdiction over the claims asserted herein pursuant
to 28 U.S.C. § 1367(a) in that they are related to the claims alleged in the Second Amended
Complaint on file in this action,

2. The City is and was at all times mentioned herein a municipal corporation formed
and organized under the laws of the State of California.

3. Defendant and Cross-Defendant Northern California Universal Enterprises
Company (“Cross-Defendant” or “NCUE”) is and was at all times mentioned herein a California
Corporation.

4. Defendants DOE 1 through DOE 50, inclusive, are sued herein under fictitious
names. Their true names and capacities are unknown to plaintiff. When their true names and
capacities are ascertained, Cross-Complainant will amend this complaint by inserting their true
names and capacities herein. Cross-Complainant is informed and believes and thereon alleges
that each of the fictitiously named defendants is responsible in some manner for the occurrences
herein alleged, and that Cross-Complainant’s damages as herein alleged were proximately
caused by those defendants. Each reference in this complaint to “cross-defendant,” "defendant,"
"defendants," or a specifically named defendant or cross-defendant refers also to all defendants
sued under fictitious names,

5. On or about April 6, 2004, the City and Wasco Project, LLC entered into a
Purchase and Sale Agreement (“Agreement”) with respect to property commonly known as
Valley Rose Estates. A true and correct copy of the Agreement is attached hereto as Exhibit A.
Wasco Project, LLC was to acquire the Valley Rose Estates from the City of Wasco under the
Agreement. Amongst other provisions, Wasco Project, LLC agreed, under section 6.3 of the
Agreement, to purchase the property “as is” and without any warranties or representations from
the City as to the property, improvements, contract rights or entitlements thereto, or as to the

property’s condition, state of repair or fitness for use.

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6. Wasco Project, LLC further agreed, under section 8 of the Agreement, to
indemnify and hold the City harmless from “any and all claims, demands, losses, obligations,
costs and expenses (including without limitation attorneys’ fees and court costs) which arise out
of ... the ownership or operation of the Property after Closing.”

7. Wasco Project, LLC was unable to obtain financing to complete its purchase of
the Valley Rose Estates under the Agreement. Accordingly, on May 18, 2004, Wasco Project,
LLC assigned its rights and obligations under the Agreement to Cross-Defendant pursuant to an
Assignment of Purchase and Sale Agreement. A true and correct copy of the Assignment of
Purchase and Sale Agreement is attached hereto as Exhibit B. Cross-Defendant agreed to
purchase the Valley Rose Estates from the City and to assume all obligations, covenants and
promises previously made under the Agreement by Wasco Project, LLC. The City consented to
Wasco Project, LLC’s assignment and agreed to release it from all obligations under the
Agreement.

8. The parties also entered into an Amendment to Purchase and Sale Agreement that
finalized the Valley Rose Estates sales transaction. A true and correct copy of the Amendment
to Purchase and Sale Agreement is attached hereto as Exhibit C.

9. The City conveyed the Valley Rose Estates to Cross-Defendant pursuant to the
Assignment of Purchase and Sale Agreement and the Amendment to Purchase and Sale
Agreement. Since conveying the Valley Rose Estates to Cross-Defendant, the City has
performed all conditions and obligations to be performed on its part under the Assignment of
Purchase and Sale Agreement and Amendment to Purchase and Sale Agreement with Cross-
Defendant.

10. On or about February, 2007, the City entered into a Subdivision Agreement for
Tract 6451 (‘Subdivision Agreement’) with Cross-Defendant relating to Cross-Defendant’s
development and subdivision of the Valley Rose Estates subdivision. A true and correct copy of
the Subdivision Agreement is attached hereto as Exhibit D. Under the Subdivision Agreement,
the City agreed to approve Cross-Defendant’s final subdivision map and to accept all streets,

alleys, easements and pedestrian ways dedicated or deeded to the City by Cross-Defendant in

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SECOND AMENDED CROSS-COMPLAINT FOR CONTRACTUAL INDEMNITY

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exchange for Cross-Defendant’s performance of specified obligations related to the installation
and maintenance of improvements on the Valley Rose Estates subdivision.

11. The Subdivision Agreement contains indemnification and attorneys fees
provisions. Under the Section 10(a)(1) of the Subdivision Agreement, Cross-Defendant agreed to
“hold harmless and indemnify the City and its Council, officers and employees, from every
liability, claim, suit or demand which may arise or may be made by reason of any act, omission
or neglect of [Cross-Defendant], its engineers, employees, agents or contractor.”

12. Under Section 10(b) of the Subdivision Agreement, Cross-Defendant agreed, at
its own “cost, expense and risk,” to defend the City in all legal proceedings brought against the
City that invoke Cross-Defendant’s duty to indemnify the City. Cross-Defendant further agreed
to pay any resulting judgment that may be rendered against the City in such proceedings.

13. Under Section 11 of the Subdivision Agreement, the parties agreed that: “If any
suit be brought by the City for the recovery of any sum due under this Agreement, for any
damages for the breach of this Agreement, or to compel performance of this Agreement, the City
shall be entitled to such portion of such reasonable attorney’s fees as the Court may determine, in
addition to its cost of suit.”

14. On or about June 2, 2008, Plaintiff Roger McIntosh filed a First Amended
Complaint, alleging that Cross-Defendant infringed on its copyright by developing the Valley
Rose Estates with copyright protected subdivision plans and/or tentative maps that were prepared
by Martin-MclIntosh exclusively for The Legacy Group, Ltd. in an earlier, but failed, attempt to
develop the same property. Plaintiff further alleges that he is now the exclusive owner of the
alleged copyright protected plans, having bought out his former business partner, Mr. Martin,
and that he did not permit Cross-Defendant to use the subdivision plans prepared by Martin-
McIntosh to develop the Rose Valley Estates.

15. Plaintiff has also sued the City under a theory of contributory copyright
infringement.

16. The City denies engaging in any acts that constitute contributory copyright

infringement.

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SECOND AMENDED CROSS-COMPLAINT FOR CONTRACTUAL INDEMNITY

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17. ‘Plaintiffs suit against the City for contributory copyright infringement triggers
Cross-Defendant’s obligation to indemnify the City pursuant to sections 10(a)(1) and 11 of the
Subdivision Agreement and Civil Code § 2772 et seq. insofar as the City is being sued as a result
of alleged acts, omissions or neglect engaged in by Cross-Defendant, namely failing to obtain
Plaintiffs consent to use Plaintiff's copyrighted plans.

18. | Cross-Defendant’s duty to indemnify the City under Sections 10(a) and 11 of the
Subdivision Agreement in turn invokes Cross-Defendant’s duty to defend the City pursuant to
Section 10(b) of the Subdivision Agreement and California Civil Code §§ 2778(3) and (4).
Cross-Defendant is also obliged, under sections 10(a) and (b) of the Subdivision Agreement and
California Civil Code §§ 2772 and 2778, to pay any resulting judgment against the City that the
Court may award to Plaintiff.

19. Plaintiffs suit against the City also triggers Cross-Defendant’s obligation to
indemnify the City pursuant to Section 8 of the Agreement, as incorporated into the Assignment
of Purchase and Sale Agreement, Specifically, under Section 6.4 of the Agreement, Cross-
Defendant “acknowledged that the prior subdivision map for the Valley Rose Estates subdivision
had expired and that it was Cross-Defendant’s “responsibility to obtain a new subdivision map or
maps for the [Valley Rose Estates subdivision].” Since entering into the Assignment of Purchase
and Sale Agreement, Cross-Defendant’s development and subdivision of the Valley Rose Estates
subdivision through the alleged use of Plaintiff's subdivision map and improvement plans has
resulted in Plaintiff's suit against the City. As such, Cross-Defendant is obligated to indemnify
the City pursuant to the Assignment of Purchase and Sale Agreement, to Section 8 of the
Agreement and to Civil Code §§ 2772 and 2778.

20. The City has incurred, and continues to incur, necessary and reasonable attorneys’
fees and other legal costs in prosecuting this action against Cross-Defendant and in defending
itself in the instant action.

21. On or about November 18, 2008, the City filed a First Amended Complaint
against Cross-Defendant in which it put Cross-Defendant on notice of its duties to pay any

judgment against the City and to defend the City against Plaintiffs claims in the instant action.

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Since that date, the City’s counsel has sent letters and e-mails to NCUE’s counsel demanding
that NCUE assume its obligations to defend and indemnify the City, as required by the
indemnification clauses and agreements referenced herein. To date, NCUE refuses to honor its
obligations to indemnify and/or defend the City against Plaintiff’s claims.

WHEREFORE, Cross-Complainant prays for judgment as follows:

1. For all damages, if any, adjudged against Cross-Complainant with respect to
Plaintiff’s cause of action against Cross-Complainant for contributory copyright infringement;

2. For all Cross-Complainant’s attorneys’ fees and costs incurred in defending and
resolving Plaintiffs claims for contributory copyright infringement; and

3, For such other relief as the court may deem proper.

JURY TRIAL DEMAND
Cross-Complainant demands a trial by jury on all issues triable of right by a jury.
Respectfully Submitted,

Dated: March 30, 2009 GARCIA, CALDERON & RUIZ, LLP

By:

Chaka C. Okadigbo
Attorneys for Defendants
CITY OF WASCO

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SECOND AMENDED CROSS-COMPLAINT FOR CONTRACTUAL INDEMNITY

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EXHIBIT A
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This Purcheat and Sale Agreement atid Joint Esctow Tnstraistions Agreement"),
dated as of April Ss" 2004- is ahteved tte: by and. betwedir Lpaite PVRCN” BAS A Bacrer™),
and CITY OF WASCO. ("Seller”,

WHEREAS, Seller isthe sole owner in fee of tye pargels of real pr opexty which contain
ayproximately thn OF.57 actes which are Iaeated in the City af Wasco, and are more

aur chy nibed, : bible “A” attaphed hereto and jneosporatied. herein by: this
Feferaice (the “Property”: and

WHERBAS, the Property is subject to over Four Million Dollars in Assessment. Liens,
and

WHEREAS, the Property has been partially developed and is currently in a blighted
condition and.

JEREAS, the hest:use ofthe Eropenty ia for-private development: and

WHEREAS, it is forthe.public ‘benefit that, said Property beiselds and

WHEREAS, Buyer. desixes to putchiase from Seller and Seller desines: to. sell to Buyer the
Property: onthe tientaancasd conditions serforth herein,

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3.1 Depasit, Buyer shall deposit into the Eserow,.at the Opening, the sum of __
ee f Be OFo, og (10% of the Purchase Rilee) (the "Deposit"), Escrow Holder (as
defined in Paragraph 4.1, below). shall invest the Deposit in an iiterest-bearing AEcORNt
and the imterest.camed: on, such account shall be applied as provided in this Agreement,

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iter agreement of Buyer and Seller.

i ne. Documents, Seller shall deliver to. the Egcrow Holder, on
or before the wile twa busines days pier to the Closing Deadline, the fullowing

documents:

(ay a. Grant Deed to: the Property duly executed and-acknowledged hy
the Seller in fiver of Buyer and in recordable form (the "Geant Deed"); and

(b) other instruments and. documents that may be required by the
Escrow Holder to transter the Property to Bwyer.

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At the Closing, the Esepow Helder shall do the

Following:

(a)  Prorate all matters in accordance: with Paragraph.4,7, below, based
on the latest. available information.

(a) Cause the Grant Dead to-be recordéd:in the Official Records.of the

county: in which: the: Proper ty'is located.

{c) Deduct from funds deposited with the Escrew Halder by Buyer in
payment of the Purchase Price for the Property for the amount of tems chargeable
ta the account of Seller pursuant to this Agreement:

(d) “The renmdiniig balance of the finds Capsiiee ‘by Buyer itto the
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Seller promptly upon the Closing in gecordanae with separate eweren instructions
to be provided: fo the Eserow.

(e)- Deliver or cause to: be delivered to Buyer an, original of the o owner's
tle jnsnranc sammitment therefor, te be isied pursuant to
Paragraph, 5.2, beloxy; and deliver fo Buyer avconformed capy of the Grant Deed.

45  Cansallution of scraw:

(z) Jy the event that the Closing does not occur at the time.and in the
mane provided in this Agreement due to the roaterial failure. ot-Buyer to comply
with any ofits obligations under tltis Agresment ("Buyer Defiult"), Seller shall
have tha. fight to cancel the Ryorow by- written, ndtice to Buyer and the Esoraw
Holder, and. wpen such caneallation all: costs of eancellarion of the, Escrow,
on the gost of the preliminary stile xeport furnished to
Buyer pursant to Pasageaphs.1, belo (collectively, the "Cancellation. Costs"),
shall be paid ay: Buyer, °

(b) In the-cyont that the Closing does mot oscur at tha thme and in the
manner provided in this Agreement dixe to the. material failure of Seller to comply
with any of its: @ tons. under thi Agreement Cselfer Default'}, Buyer shall

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ind to Buyer tht Deposty and all interest earned

thereon | in Escrow.

(se) Tithe ewent that the Closing .daes not accur at the time. and. in the
manner provided in this. Agréement for amy reason: other-thar a Enyer Default or a
Seller. Default, either Buyer or- Seller may, at any time. after the Closing, Deadline,
cancel the Escrow by wisten, natiee: fo the Escrow Holder and te the other: and
upow guch. cancellation, the Cancellation Costs shall be divided equally between
Buyer and Seller, and Escrow Holder shall refund to Buyer the Depesit and all
interest earned thereon in Escrow.

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. (d) Upon any cancellation of the Escrow, all instruments and
documents deposited into the Escrow shall be returned to the parties who
deposited the same, and any amounts deposited into the Escrow by Buyer
pursuant to Paragraph 3 , above, shell be retuimed to Buyer.

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paid as follows:

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(ce) Buyer and. Selley shall cath pay their own. legal fees, and other

incidental. expenses: inquiad iy connection swith, the ttansaption, gontemplated: by
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(a. Any atlver Goats or ex lenses in conection. with the transactions
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(¢) As between Buyer and Seller anly, Buyer shall be responsible for
all reab and personal property taxes and agsasaments for the Property relating to
the: period commencing on or after the Closing, and the Seller shalt be responsible
for all real and personal property taxes and assessmenta for the Property relating
to the period pHor 10 the Closing, if any.

rcliminany Title Report, Seller stall furnish Buyer, as, soon. as available,
a preliminary title report for the Property prepared by Fidelity Mational Title Company
(the "Title Company"), together with coplés of the documents desoribed in. such report
(collectively, the "Title Documents"). Buyer shall. have tem (10) business days after
receipt of the Tithe Dacuments (the: “Title Approval. Period!) to approve the same. Hf
Buyer faile to deliver a written notice disapproving the Title Documents to the Escrow

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Company on or before the hist day of the Title Approval Perdod, Buyer shall be
conclusively deemed to, haye.approved the: Title. Da: 3 ond the exceplions: contained
therein, If Boyer tigely disapproves the Title Documents, Buyer af ite option ray:
(2) cancel thé Escrow and this Agreament by varitter notice to, Seller and the Bsorowr
Holder, in whieh case the Cancellition Costs.-shall be paid by Seller, orb) perihit Seller
to remove the objectionable items fom iile. E'Seller does mor remove such items before
the: Closing Deadline, Buyer at its: option may waive. its objection avd close the
transaction or (y) canoe! the Bscrow: and {iis Agreement by writieh neice to Seller and
the Escrow Holder, in which case the Cancellation Costs:shall. bo paid by Seller,

5.2 tle Insurance, At the tine of the Closing, and as a. condition thereto, the
Escrow Holder sltali deliver to Buyer ‘an. arigmnal of either a CLTA standard coverage
owner's. policy of' title insurance issued by. the. Tite. Conipany or an unconditional and
unqualiiied commitment by the Fitke Company to isaye suck a policy, naming Buyer as
insured, in a poling amount equal to the Putekase Price, showing title. to she Property 4@
be vested in Buyer, subject only to (a) nomdélinguent tawés. ancl aestasments (provided
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Closing), and Qj-the: exceptions coatained in the Title Dosuments approved or
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(a) The physical conditem of the Property, melding without,
limitation soil conditions, the absence fem the Property of asbestos and other
hazardous and toxie materials, compliance of the Property with all applicable
laws, including any laws relating to hazardous and toxic materials. Seller shall
cause the Owners to allow Buyer and/or its agents: access to the Property to
perform any and gil investigations: and. inspections: desired by: Buyer, provided that

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Buyer shall mdemuify and hold Seller and the Owners harmless, from and against
any and all. claims, demands, losses, obligations, costs and expenses (including
attorneys! fees and costs) resulting. from auch entry, and

(b) All applicable. government ordinances, rules and regulations and
evidence Of Seller's cgmpliance therewith, jnchs ing wathorut. ‘imitation aanings
and builditig regulations, and all ‘licenses, fietinits and oflier government
appre, ; idler aathiocizations: ting, to the Property, including, tlie suitability
ofthe Property for Buyzr'y intendédiuse andéor development; and

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(c) All costs. and sconomic feasibility of Buyer's. use and/or intended
development, af the Property,

The foregoing indemnity in ‘Seation 6.2(a) by Bayer shall survive: the Close. of
Escrow and the recordation of th Grant Deed, or the capltor tetimination ofthis Agreement.

6.3 is. E nuon, Buyer hereby acknowledges and agrees that Selley has
mace jo. represaitations Qf warranties, express or implied, as to the Property or
improvements ex conitaer rights ar enti menty relating thereto, or as to the seudition,
stain of. pat or fitness for wee. of 32. y Or.such improvements. or appurtenances,
CyB ig -aatia ¢ conditions: comtaited in this Pattagraph 6
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responsibility to obtain a new subdivision.mnap os:maps for the Property,

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7.

Sellers Condition, The obligations of the Seller under this Agreement shall: be
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infevesied Parties thereto, | ding, withant limitation, obtaining: any court anders: or ether
instructions with respect fo sigh Assesam ioe or amy: related public Saancing that it may
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Liens of court: orders will not. be considered ari. avert af default by Selter:

O: CFE CONVEMANCE. Prior -ta, and
conditions shall be completed:

(3) Prior to April 15") 2004, the-Buyey shell submit to: the Seller evidence
thet the Buyer has obtained. sufficient equity ‘capital and firm and binding

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commitments for interim and/or permanent financing necesaary forthe purchase
of the Prapemy in accordance with thiy Agreement. Such evidence of financing:
shall. include cewios of all conditional. and firm finatieing conminments and. any
permanent fluancing ¢onmmitments. or other documents that indicate Buyer's
ability to france ihe pyrchase.of the Property, Condisional, coxmilnents: shall be
fim and binding conmitetents subject only to standard conditions requized by the
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proof of payment of alf loan comtmitment fees: required to find the Bnancing
COmMImENLS end. proof of funding, of equity capital contiutions siall alo be

(3) Mates
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& har zacties. of Buyer, Buyer hereby represents and,

(a) Bayer has fll. authority to enter tmve this Agmement and all
documents executed by Buyer which are to be delivered to Seller at the Closing
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| Agteement or jodisiat ober to.which Buyer is a party.orto which lon
_Propery is subject :

(8) The: Buyer does not have-any meterat contingent obligations or any
material coutractual agreementswhich could material adversely affect the

() There ave uo. material pending or, so far as is rene he ye
threatened Isgel proceedings to which the Buyer is or iho er
which any of its propesty is or may became: subject, which has not been fully
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Agectag nt The ability Of the Boyer to calry out its obligations in this
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(d) Buyer bag the full Snuneial. where with all to seeure financial
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Deposit shall be paid to Buyer and. each party shall he released from all
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enforcement or interpretation of'any of the terms or conditions of this Agrement, the prevailing
party in such action shall be entitled to recover its Feagonable costs and expenses, including
without limitation court costs. and attorneys! fees. actually INeurred, ag awarded. by a court af
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consultant, Attorney, ar * independent | contractor of the Seller shall be personally liable to the
Buyer, or any sugcesson-in-interest, in. the: event of any default or breach by the: Seller or for any
amount which may become due to the Buyer, or to. its sUSCESSOT, Or on any obligations under the
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EXHIBIT B
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EXHIBIT D
Case 1:07-cv-01080-LJO-GSA Document 82 Filed 05/21/09 Page 23 of 44

ASSIGNMENT OF PURCHASE AND SALE AGREEMENT

This Assignment of Purchase and Sale Agreement (the “Agreement’) is entered
into as of May 18", 2004 by and between the City of Wasco, a municipal corporation
("City"), Wasco Project, LLC. (“Assignor’) and Northern California Universal Enterprises,
a California Limited Partnership (“Assignee”) with reference to the following facts:

A. The City and Assignor have entered into that certain Purchase and Sale
Agreement dated Aprit 6", 2004 ("Purchase Agreement”) with respect to
property commonly known as Valley Rose Estates as more specifically
described in the Purchase Agreement (“Property”).

B. Assignor is not able to obtain financing to complete the purchase of the
Property as required under the Purchase Agreement and Assignor is
currently in default under the Purchase Agreement,

C. Assignor desires to assign all of its rights and obligations under the
Purchase Agreement to avoid liability for being in default under the
_ Purchase Agreement.

D. Assignee desires to purchase the Property and is willing to accept
assignment of Assignor's rights and obligations under the Purchase
Agreement so long as certain amendments to the Purchase Agreement.
are made.

E, Assignor has entered into other agreements in which the City is a party,
which Assignor will not be able to meet the terms and conditions of and
which will also need to be assigned to Assignor.

NOW THEREFORE, in consideration of the foregoing, of the mutual promises of
the parties hereto and for other good and valuable consideration the receipt and
sufficiency of which are hereby acknowledged, the parties mutually agree as
follows:

1, Assignment by Assignor, The Assignor hereby assigns and delegates to
the Assignee, and the Assignee hereby accepts from the Assignor, all of
the Assignor's tights, title.and interest in and any and all obligations under
the Purchase Agreement.

2. Acceptance of Assignment, The Assignee hereby accepts the above
assignment and hereby assumes, agrees and undertakes to perform all of
the obligations, covenants and promises of the Assignors pursuant to the
Purchase Agreement. Any reference’to the Assignor, in the Purchase
Agreement shall be deemed a reference to the Assignee. The Assignee
shall reimburse the Assignor for any amount paid by the Assignor under
any of the agreements, contracts and proposals described above.

3. Release of Assignor. The City hereby consents to the assignment by
, Assignor to Assignee and to the release of the Assignor from all
obligations imposed under the Purchase Agreement.

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4, Effective Date. The assignment set forth above shall be effective as of
the date of this Agreement.

5, Additional Assignments. As additional consideration of the execution of
this Agreement, the parties will execute the Assignment of the
Supplemental Golf Course Bonds Agreement attached hereto as Exhibit
“1” and the assignment of the Workout Agreement attached hereto as

Exhibit “2”.

6, Amendment to Purchase Agreement. The City and Assignee agree to
amend the Purchase Agreement as set forth in Exhibit "3".

7, Cooperation. The Parties acknowledge that it may be necessary to
execute additional documents or take additional actions other than those
specifically referred to herein in order to complete the assignment
contemplated by this Agreement. Thereforé, each party hereto agrees to
cooperate with each other by executing such other documents or taking
such other action as may be reasonably necessary to complete. the
transactions contemplated by this Agreement in accordance with the
intent of the parties as evidenced in this Agreement.

8. Amendment. This Agreement may be amended only by a written
instrument executed by the parties hereto or their successors in interest.

9, Integration, This Agreement constitutes the entire agreement between
the parties hereto pertaining to the subject matter hereof and all prior and
contemporaneous agreements, representations, negotiations and
understandings of the parties hereto, oral or written ‘are hereby
superseded and merged herein.

10. Representations and Warranties. Each of the parties hereto represents
and warrants to each other party hereto that the execution and delivery of
this Agreement and the performance of their obligations hereunder have
been duly authorized and that this Agreement is a valid and legal
agreement binding on him, her or it and enforceable in accordance with
its terms. Each of the parties hereto each also represents and warrants
to each other party hereto that he, she or it has not assigned any rights or
claims against any of the other parties hereto to any third party.

11. Interpretation. The provisions of this Agreement shall be construed and
interpreted neutrally, as if drafted by all parties, and shall not be
construed or interpreted as against any party hereto.

12, Counterparts: The Agreement may be executed in counterparts, each of
which, when executed and delivered, shall be deemed to be an original,
but such counterparts together constitute one and the same document.

13, Facsimile. Except for documents that must be recorded on real property

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title records, facsimile copies of signed documents shall be deemed
originals for all purposes.
Case 1:07-cv-01080-LJO-GSA Document 82 Filed 05/21/09 Page 25 of 44

14, Governing Law, California law shall apply for purposes of enforcement
and interpretation of this Agreement.

15. Time is of the Essence, Time Is of the essence with regard to each
covenant, condition and provision of this Agreement.

16. Attorneys’ Fees. In any proceeding brought by any party to this
Agreement regarding the terms, conditions, obligations, and/or covenants
of this Agreement, the prevailing party shall be entitled to recover its
reasonable attorney’s fees. and costs of litigation in addition to any other
relief awarded in such proceeding.

IN WITNESS WHEREOF, the parties have executed this Agreement as of the
date first written above.

ASSIGNOR
Wasco Project, LLC
By:

Name:
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By:
Name:
its:

ASSIGNEE

Northern California Universal Enterprises

By:
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City of Wasco

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and Interpretation of this Agreement,
18.  Timeis of the Essence. ‘Time is of the essence with regard to each

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reasonable attorney's fase and costs of litigation [In addition te any other
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IN WITNESS WHEREQF, the parties have executed this Agreemant ag of the
‘date first written above,

ASSIGNOR
Wasco Project, LLO

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EXHIBIT C
Case 1:07-cv-01080-LJO-GSA Document 82 Filed 05/21/09 Page 28 of 44

AMENDMENT TO PURCHASE AND SALE AGREEMENT

This Amendment Agreement (“Agreement”) is entered into as of May 18", 2004 by and
between the City of Wasco, a municipal corporation (“City”) and Northern California Universal
Enterprises, a California limited partnership (“Northern”) with reference to the following facts:

A. ‘The City and Wasco Project, LLC, entered into that certain Purchase and Sale
Agreement (“Purchase Agreement”) dated as of April 6", 2004.

B. The Purchase Agreement was assigned to Northern on the condition that certain
amendments were madé to the Purchase Agreement.

C, Section 22 of the Purchase Agreement provides that it can be modified in writing.

NOW THEREFORE, based upon the foregoing, the parties agree that Sections 2, 3.1,
4.3, 7.1(a) (c) and (d), 18 and 15, shall be modified as follows:

2. “Purchase Price. The purchase price for the Property (the "Purchase Price”) shall
be $1,605,000.00,”

"3.1 Deposit, Buyer shall deposit into the Escrow, at the Opening, the sum of
$160,500.00 (10%. of the Purchase Price) (the "Deposit). Escrow Holder (as defined in
Paragraph 4.1 below) shall invest the Deposit in an interest-bearing account and the interest
earned on such account shall be-applied as provided In this Agreement.” As part of the
consideration for this Agreement, the Deposit shall be non-refundable and retained by Seller
if Buyer does not purchase the Property by the Closing Deadline.

"4.3 Closing Deadline. The Grant Deed (as defined in Paragraph 4.4, below) shall be
recorded and the Escrow shall close (the "Closing") as soon as possible after the satisfaction of
all of the conditions contained in this Agreement, including but not limited to Section 7,1, but in
no event later than November 1", 2004 (the "Closing Deadline"). Time is specifically of the
essence.as to the Closing Deadline, and the Closing Deadline shall not be extended except by
the mutual written agreement of Buyer and Seller.”

“7,1(a) Financing. Prior to June 1" -2004, the Buyer shall submit to the Seller evidence that
the Buyer has obtained sufficient equity capital and firm and binding commitments for interim
and/or permanent financing necessary for the purchase of the Property in accordance with
this Agreement. Such evidence of financing shall include copies of all conditional and firm
financing commitments and any permanent financing commitments or other documents that
indicate Buyer’s ability to finance the purchase of the Property. Conditional commitments
shall be firm and binding commitments subject only to standard conditions required by the
lender. Proof of funding acceptance of each loan commitment by Buyer and proof of
payment of all loan commitment fees required to fund the financing commitments and proof
of funding of equity capital contributions shall also"be required.”

"7.14(c) Settlement Agreement and Mutual Release. The Seller shall enter into a Settlement
Agreement and Mutual Release with Michael Richardson and Badger Technology, Inc. and all
the terms and conditions of said Agreement shall be in full force and effect-for the duration of
this Agreement”

"7,.1(d) Workout Agreement The Seller shall enter into a.satisfactory agreement with U.S,
Bank National Association in its capacity as the Trustee for the Wasco Public Financing
Authority 1989 Local Agency Revenue Bonds Series.A and the Assessment District No.
1992-2 Assessment District Bonds, Michael Richardson and Badger Technology, Inc. and all

Case 1:07-cv-01080-LJO-GSA Document 82 Filed 05/21/09 Page 29 of 44

the terms and conditions of said agreement shall be in full force and effect for the duration of
this Agreement.”

13. wees

lf to Buyer: Northern California Universal Enterprises

2278 Trade Zone Bivd,

San Jose, CA 95134

Attention: Mr, Joe Wu

Telephone: (408) 946-7856“

"15. Brokers. Except for Darrell Sousa of Sperry Van Ness Commercial Real Estate,
(“Broker”), who shall be paid One Hundred Thousand Dollars ($100,000) by Buyer when the
Property is transferred, each party: represents and warrants to the other that no broker or real
estate agent has been engaged by it in connection with this Agreement. or the subject
transaction. Buyer shall be solely responsible for any commission due to Broker. Buyer and
Seller each hereby indemnify and hold the other harmless from and against all costs,
expenses or liabilities (including without limitation attorneys’ fees and court costs, whether or
not taxable and whether or not any action Is prosecuted to judgment) incurred by the
indemnified party in connection with any claim or demand by any person or entity for any
broker’s, finder’s or other commission or fee in connection with the Indemnifying party's entry
into this Agreement and the transactions contemplated hereby.”

All other terms and provisions of the Purchase Agreement, which are not expressly modified by
this amendment shall remain in full force and effect.

NORTHERN CALIFORNIA
UNIVERSAL ENTERPRISES

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APPROVED AND RECOMMENDED

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larry Pennell, City Manager

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Telephone: (408) AdsePaas 4

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AMENDMENT TO PURCHASE AND SALE AGREEMENT

This Amendment Agreement (‘Agreement’) _.is entered into as of May 18", 2004 by and

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A. The City and Wasco Project, LLC, entered into that oertain Purchase and Gale
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B. The Purchase. Agreement wes assigned to Northem on the condition that certain
amendments were made to the Purchase Agreement,

C. Section 22 of the Purchase Agreement provides that lt can be modified in writing.

NOW THEREFORE, based upon the foregoing, the parties agree that Sections 2,34,
4.3, 7,1(a) (¢) and (d), 13 and 15, shail! be modifled as follows:

2. “Purchase Price, The purchase ptice for the Property (the "Purchase Price") shall
be $1,605,000.00."
3.1 Deposit, Buyer shall deposit into the Escrow, at the Opening, the sum of

$160,500.00 (10% of the Purchase Price) (the "Deposit), Escrow Holder (a8 defined in
Paragraph 4.1 below) shall Invest the Deposit in sa interest-bearing account and the Interest
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consideration for this Agreement, the Deposit shall be non-refundable and retained by Seller
if Buyer does not purchase the Properly by the closing deadline.

"4.3 Closing Deadline. The Grant Deed (as defined in Paragraph 4.4, below) shall be
recorded and the Escrow shall close (the "Closing") as soon as.possible after the satisfaction of
all of the conditions contained In this Agreement, including but not limited to Section 7,1, but In
no event later than November 1° 2004 (the "Closing Deadline"). Time Is specifically of the
essence as tothe Closing Deadlina, and the Closing Deadline shall not be extended except by
the mutual written agreement of Buyer and Seller."

the Buyer has obtained sufficient equity capital and firm and binding commitments for interim

shall be firm and binding corvimitments subject enly to standard conditions required by the
lender, Proof of funding acceptance of dach loan commitment by Buyer and proof of
payment of all loan commitment fees required to fund the financing commitments and proof
of funding of equity capital contributions shall algo be required.”

"7.1(¢) Settlement Agreement and Mutual Release, The Seller shall enter Into a Settlement
Agreement and Mutual Release with Michael Richardson and Badger Technology, Inc. and all
the terms and conditions of said Agreement shall be,lh full force and effect for the duration of
this Agreement”

"7.4(d) Workout Agreement The Seller shall enter into a satisfactory agresment with U.S,

Bank National Association in ig Capacity as the Trustee for the Wasco Public Financing
Case 1:07-cv-01080-LJO-GSA Document 82 Filed 05/21/09 Page 33 of 44
MAY. 24. 2004 4:17PM NOR CAL UEC HO90) PL)
the ‘tarms.and conditions of sald agreement shall be in full forse and effect for the duration of
this Agreement,"
13.
ifto Buyer:__Northern Califomia Universal Enterpriges wee
____228 Trade Zone Biya, Oe

San Jose, CA 95131

Attention: Mr, Joo Wu
Telephone: (408) 946-7856 «

"15, Brokers, Except for Darrell Sousa of Sparry Van Ness Commercial Real Estate,
(“Broker”), who shall be paid One Hundred Thousand Qollars ($100,000) by Buyer when the
Property is traneferred, each parly represents and warrants to the other that no broker or real
€state agent has been engaged by it in connection with this Agreement or the subject
transaction. Buyer shall be solely responsible for any commission due to Broker, Buyar and
Seller each hereby indemnify and hold the other harmless from and against all costs,
expenses or liabilities (including without Imitation attorneys’ fees and court costs, whether or
not taxable and whether or not any action is prosecuted to Judgment) incurred by the
Indemnified party In connection with any claim or demand by any person or antity for any
broker's, finders or other commission or foe In connection with the Indemnifying party's entry
Into this Agreernent and the transactions contemplated hereby,”

All other terms and provisions of the Purchase Agreement, which are not expressly modified by
this amendment shall remain in full force and effect,

Le thege

swonovels snp RECOMMENDED

NORTHERN CALIFORNIA
UNIVERSAL EN

By:

By: a

, Larry Pennell, Clty Manager
APPROVED AS TO FORM. CITY OF WASCO
. oe . A ee
By: i By,
Alan J, Peake, City Attorney Danny Espitla, Mayor

o:files\wasco\agreements\vrepurchase05: 2lolean.amd
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AGREEMENT NO. 2007-.__
SUBDIVISION.AGREEMENT.
ROR

| “TRACT 6451. .

4

THIS AGREEMENT, entered into this 20! day of Februaty, 2007 by’ and between the Cl TY OF WASCO,
a Municipal Corporation. herein-referred'to as the “City”; and NORTHERN CALIFORNIA UNIVERSAL
herein referred to as the “Subdivider". OR a

WITNESSETH:
WHEREAS, the Subdivider is developing and subdividing land in the City of Wasco, under the provisions
of the Subdivision Map Act (Government Code Sectians 66410 et. seq., referred to as.the “Map Act’), and
uader the provisions of the Subdivision Ordinance of the City of. Wasco (Wasco Municipal Code), referred
{0 as the “Ordinance”, and. Ce Sor

WHEREAS. the teutative:map Tract 645] has been approved by. the Planning Commission of the City
(Advisory Agency), subject. ta: certain Approved exceptions and conditions: and
WHEREAS, the Subdividér has submitted the final map to the City Council of the City for approval in
accordance with the Map Act and the Ordinance, Said final map shall be referred to as the “Final.

Subdivision Map of Tract 6451 or, “Subdivision”; and: 6

WHEREAS, the Subdivider has complied, with all provisiohi-af ihe Map Act and the Ordinance applicable

WEHEREAS, the City Council of the Ciiy'is. willing 10 approve ihe Final Subdivision Map, and-to-accept on
behalf of the City ail ‘oF the streets, alleys,.easementg and pedestrian: ways dedicated thereon at deeded to
the City in connection therewith, under-the terms and conditions hereinafier.more particularly set: forth:

NOW, THE REFORE, for and in consideration ofthe mutual covenants and conditions herein contained,
(FIs EXPRESSLY AGREED AND UNDERSTOOD as follows; |

[.

Concurrently upon the exeéution of this Agreement and upon pasting by the Subdivider of the
Improvement Security as mentioned herein, the City, by and through its City Council, does hereby agree to
approve the Final Subdivision Map of Tract.64$} , and to acvept all streets, alleys, edsements, and
pedestrian ways dedicated théreon or deeded by the. Subdivider to the City in connection therewith.
improvement Security shalt be as hereinafter provided for, to be approved by ihe City Council ofthe C ity
and shall be in the amounts fixed by said City Council,

Ih,

For and in consideration of the.approval of the Final Subdivision Map referred to in Paragraph | hereof, and
for and in consideration of the acceptance af the streets, alleys, easements and pedesitian.ways dedicated
thereon or deeded to.the City in connection Herewith, the Subdivider hereby agrees as follows:
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In accordance with the. requirements of the City Council, the Subdivider shall conslruct, at ils.sale cost and
expense, those improvements. shown. on the plans, profiles and specifications, all 2s approved by the City
Engineer, and all.of which are incorpérated’in the Agreement: by reference’ad'a part hereof, and which are
generally désignated'as follows: Curbs, guners, sidewalks, grading, paving, drainage facilities,
landscaping, parking, sanitary sewers, water-distribution system, street name signs, underzrotind street.
lighting and utility systems, subject only id those times agreed upon benveen Developer and the City which
are reimbursable to Developer, The reimbursable costs arc listed in this dgcument, cS

t. IMPROVEMENTS TQ BE CONSTRUCTED:

{a} Subdivider shal | grade, pave, construct and Improve all ofthe Streets, Alleys: Easements
and Pedestrian Ways dedicated:to the-City or deeded by the Subdivider to the City ia
connection therewith, pursuant-to and. in accordance with those provisions of the Wasco
Municipal Code applicable thereto and,-more panicu larly pursuant to and in. accordance
with the Plans and Profiles, and by this reference incorporated herein. «

(b) Subdivider shal} Install a Water Distribution System, including the construction. and
installation of alt Pipelines. appurtenances, and servicés to each lol, pursuant to and in
‘accordance with thase provisions of the Wasco Municipal Code.applicable thereto, and
more pajticularly pursuant to and:in accordance'with thé Plans, and by relerence -

lngarporatedtherein, . a

(c} Subdivider'shall instal}'a Sanitary Sewer System, including the consiniction and
installation ofall pipelines; manholes, appurtenances: and’ services to.edch. lot, pursuant to
and in accordance with those provisions of the Wascé Municipal Code applicable thereto,
and more particularly pursuant to und-in accordance with the Plans and Profiles, and by
reference incorporated:herdin, 0 8 ee

(2) Subdlvider sHalt site grade; compact and iinprove hulilding sites, so as to drain. properly
"within thie Subdivision, pursuant to.and in accordance withthe Plans and: Specifications,
and by'reference lneorporated-herein, 2. BE
 (e} Subdivider shall provide. for al! necessary’Storm Drainage Facilities, including the
construction and installation af'pipelines, sumps, and appurtenances, pursuantte and in
uccordance. with the Wasco Municipal Code applicable thereto, and more particylarly
pursuant to arid in accordance with the Plans and Profiles, and by reference Incorporated
herein. a . pe

(1) Subdivider shall construct all public utilities as required by the Wasco MunicipalCode,
Services from the public utilities, consisting of telephone, gas, electric, water, sewer and
cable:t.y, sérvice, shall.be pravided for each fot within ibis subdivision, This shall also

include a-Street Lighting System, a M

Subdivider shall furnish the City with writen statements from the Electric Gampany. Gas
Company, Telephone Coinpany, and Cable T.V, Company, spécifying that financial
arrangements and terms for the installation of-all electrical, gas, telephone and cable tv,

’ services fiave been made for the stibdivision. The terms thereof shall guarantee the
installation of said services to-dach lot as required at no cust.to the City and shall-be
subject to. the approval ofthe City Engineer; © yO,

(i) Subdivider shall provide for the setting ot-placement ofall permanent monuments
required for the Siibdivision by the Wasco Municipal Code, ‘Said permanent monuments
shall be. placed or set in accordance with said Municipal Code and shall be located in
such positions and shall be of the character and \ype-specified therein,
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tw

(h) Subdivider shail, remove, relocate or replace all obstructions, or otherwise make all
necessary arrangements to have said obstructions relocated, at his own expense, Said
obstructions and their removal and/or relocation, shall be shown on-all applicable plans
and profiles, and shail not-hinder any construction, a

(1). All'changes, relocations, or modifications required for the development of.the proposed
subdivision to existing city utilities, streets.anu facilities whether within the boundaries of
the subdivigion.or offsite; and-all ‘chanyes, relocations and modifications to otlier public
utilities iheluding, but not tintited to-electric, gag, water or telephone lines, caused by the
development ofthe subdivision shall be paid for by the Subdivider. If Subdividir
damages any public or private utility, said utility is to be repaired or replaced at
Subdivider's expense, pe oO

MANNER OF CONSTRUCTION:

The improvements iesignstéd.above shall. be institied and constructed in accordance-with all of -
the following: tae! , ", oo!
(a) ‘Wasco, Munitizal Code:

(b) Kern Céuy, Standards

{c) The‘Catitornia Subdivision: tap Act... :
(d) Approvedtplans, specifications and pro file’,

(c) Standard City specifications and grades, .

() State of Califtimia Business and Transportation Agency Standard Specifications (Current
‘Edition),. . Ce ce

(u) Good engineéring practices and workmanlike manner,

TIME FOR-COMPLETION: ©)

All of said.improvemeénts shall be completed in, Full in Accordance with the werms.of this
Agreement and to.the satisfaction of the. City. Engineer within twelve (12) months fromthe date of
approval ofthis Agreement,.to-wit on or before: the February 20, 2008, or any extension of said
completion date granted by. the City Council. ‘Any work which affecis any existing City,
maintained toad or traffic thereon:shall be compléted within thirly (30) working days frony'start of
work, me : . , i . “ : ‘ , ae ° “ L : ‘ : oo ‘ . :
INSPECTION AND: APPROVAL OF WORK:

(a) Al improvement work shall be subjject ig jnspection by the City Engineer or his designee |
and:shall be completed to his satisfaction; + a
a o Soe at, Wo tt
(b) When all of-the required improvement work Has been satisfactorily completed. upon
_ written appfication of he Subdivider, the City Enuineer or.his designee, and the
Developer and his Engineer or designee shall inspect and approve the same withina
reasonable time and shalf forward his recommendation to City Couneil showing the date

of inspection and approval.

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(c)

(d)

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(g)

" of-arly defiult.in the ferformance

Ifthe City Council approves the recommendation, it shall make its order accepting or
approving the wark of impravément.. - So
Such order of acceptance’or approval made by the City Council shalf be deemed
operative om the tine of approval of the work of improvement by the City Engineer or
his designee, from the time of his approval of the work of improvement as shown in his
said.certificate, SO - Oo

Except as otherwise provided, the Subdivider and surety shat! be deemed released from
liability. for damage or injury to such work so accepted by said Council: and fromthe
maintenance thereof, from and after the time said order is operative. However, the
foregoing provision shall-not relieve the Subdivider or its surety from any damage or
injury to such work of improvement of any maintenance required therefor arising: trom

‘any, other wark undérfaken by the Subdivider ofits surety. oras may, necessarily, bé:ddne:

by. the City‘in the performance of any part of the required Improvement Work:asia result
Cin ofthis Aurcement-by the Subdividér or ity surety. or
arising frorn aily willfutact or negligent act or on-ission of the Subdivider: orits surety or

‘their. contractors, agents.or em ployees, or arising from defective work ‘or labor done or

defective materials flimished“in the performance of the Agreement...
Lye : Coy . a . a OE o 7 o wt
At the time of making of the ofder uf acceptance or. approval of such work, as'the case
may be, said Couneil shall affect s reduction of the improvement security in aécordance
with other provisions of this Agreement. ‘ : oO

The provisions of (¢) notwithstanding, the Subdivider shall not be released from liability
arising from damage of injury to such work of improvements that may have ‘been
accepted by, the City: that has been caused by the construction ofnew homes and. related
acessories iit-the subdivision. A close-out inspection shall be called for by.the
Subdivider/Developer prior. to the release of the final building permit, AN damage or
injury. shall'be corrected prior {0 the issuance of a certificate of occupancy for the final
building: °° Ta, SU, . vO

4 CH

(a)

(b)

(c)

{d)

ad As required by-the Map Act |

ANGES AND ALTERATIONS:

The, Subdivider shall make.no change or akeration.in such work except with written °
approval by.the City Engineer, : De

mony

_ Fhe'Subidivider shall carry. gut such changes of alterations in:gtich work as may be

ordered by the City. Engineer:in the exercis¢ of its reasonable discretion, as.follows,
(ii). As consistent with City ordinance. applicublé at the time of approval of the
"tentative maps or. Ee a
As made.necessary by conditions of the soil. topography, drdinage, flood hazard,
. of fire hazard not foreseen at the time of approval of the. tentative map,

4

Ci

Inany case,.all changes oralterations in such work shall.be otherwise performed aiid.
fully and-timely completed-in accordance with all other provisions of this Agreement,

Within sixty (60) days. following City's acceptance of subdivision improvements,
Subdivider shall provide City Engineer wit original set of improyement plans and
electronic drawings (AuloCAD) containing the appropriate posted “Record Drawings”
changes, ‘Changes shall’be clearly noted as changes on. said plans,
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6. GUARANTEE AGAINST DEFECTS:

The Subdivider heréby guarantees all feauires of the, work df improvement fora period.of 24.
wionths following tHe acceptance:of the Work against defective work or labor done, or defective
material furnished, in the performance ofthis Agreement; and Subdivider agrees to correct. repalr.

or replace-promptly when

demanded by the City all such defective work or labor dane, or

defective materials furnished; as may. be discovered within:such one’24 month period-and reported

to the City Council.

4

Provided further that the Subdivider shull-cepair or replace alt features of the work of jrnprovement
as directed by:the City Engineer that are damaged by construction, including but not limited to

dwellings:and:related accessory features; thatoceurs aflerthe expiration, of the 24 nionth ..

warrantee, ‘The issuance. ofthe final cert] fitate-o
the dantage. is corrected. Se

Foccupancy for a dwelling shall be withlield until

7. IMPROVEMENT SECURITY:

(a)

(b)

accordance with other provisions. of this, Agreément,.is,as follows: .

As provided for hi the Wasco Municipal Code, the Agreement shall be secured by-good
and ‘sufficient security, which.shall be filed with the City priar to certification of the final
map by the City Engineer, Such improvement security shall consist of either (1) a
faith ful performance bond of bonds by one or more duly authorized corporate sureties; or
(2) a deposit, either with the City or aresponsible escrow agent or (rust company, ‘
selected by the City, of cash-or negotiable bonds of the kind approved for securing,

' deposits .of public moneys, or (3) an Irrevocable instrument af credil form one or mare
‘Tesponsible financial institutions regulated by State or Federal government and pledging

thatthe flinds areon deposit and guaranteed :for payment on demand by the City, The . |

1

‘forms of all. documents relating fo ‘such Setutity shall be subject to approval by the City

Attorney. . The. corporate surety bond-shall conform substantially with the fore set forth
in Section 66499.| of the Map ‘Act. The'estimated:cost of the various features of the =”
ork of improvement shall be used; { F applicable, as the basis.for the reduction of bonds .
in vohnection with the final completion of diy: feature of the wark (or any unit thereof),
Costs referred to:herelir are-as-sel Torth on the-Costs. Fstintate for the Subdivision; as

_ submitted for approval to, and orifila inthe office’ of: the City Enginéer,

“The estimated cost of the various fedturés of the work-of improvement, io be used ag the

basis for determination of the amount of such:security and for reduction of sécurity in

og

‘Site Preparation aind Giading. |

* Seweilmprovements 2.55002)
“Water Improvements::..: fe r
Storm Drain Improvements. . 0.0...
Street Improvements...30..0,.,, Li laeeen tees
Utilities 6.2.02, Dee eebeeeee ene ees eas bene
SUBTOTAL 0.0.0.0... Lneeeaes

10% Contingency. ..,.. bene e ens rent eeee $
TOTAL een e eee Veen nee nes 5

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(d}

_ Said ji impravement security shall be i inthe amount of 100% of the toial estimated cost of
. the improvement, conditioned ‘upon he Faithful performance of the Agreement, as
\follows: ©. . ce, ,

(4). The faith fil perdtimance:a aid. fall and ily camplétion ofthe work accordig
mo to. this Aureement; and, Ts, . .

(2) ° The guarantee and: niatatenancé ‘afthe work oi! Himproyeinent for a period of 24
months following the conipletion and approval thereat. against defective work
or labor done, of defective: matgrials fuinished, io the performinee at this,
Algreement and po Ye

Said. imprdvemeat security. shall alse Bei in an additional amount ‘of 504 4 ‘of the, rotal

estimated-cost ofthe j improvement, securing payment to the contractor, his subcontractors
and:to persons ronting, equipment of: furnishing laborer materials to ther for the,
improvement: and ifsuch portion OF the i improvement security is:

ql) a cash deposit, suit iy, be maintained against the holder 0 of such deposit; or
(2) A surety bond, suit may ‘be fnaintained against the surety, or an instrument of

credit, suit may be maintained against the financial institution ‘oF obligating itself
“as trustee on such t instrument,

g. REDUCTION AND. RELEASE OF SECURITY:

(a)

{b)
(c)

(d)

linprovement security. may be reduced or: released an order of the City Engineer | in
accordance: with this. Section." : co,

‘

improvement security, given for the faichful 1 perfaemance of the, Aureement shall be

* reduced:at the lime and inthe manner, provided: herein, subject. to retention of security. for.

r

defects as Hereinafier provided. it

Te, "oot ¥
Whenever i iinprovernent securityei3. rediuged on aeeouint of appioval of units: of the work”
sucly shail be subject ta fetention of security for detects. ind security against damage as

heretnaley provided. Se ee Dao
in ény case: fiowever, the City in the exercise ofits reasonable discretion shall: retain ten
percent (10%) of the i improvenient security, for faith fal performance, 10 secure the

maintenance and: guarantee af'such i improvement work fora period of 24. months -

féllawing the operative dale of the order of-said Council for the acceptance or approval.

thereof, as (he case may be. and ni ite case of acceptance: or-approval-of a unltoF-the
Improvement work as.its progresses), to secure. thé maintenance and guarantee of the -
work of improvement so accepted or approved against damage thereto by any other work
undertaken by the Subdivider'or its surety, ‘The amounts of improvement security so
retained: Shall-be Finally released. one (1) year following the operative date af the order of
the city Council for the acceptance or approval thereof. as the case may be, provided. that
no defective work or labor done or defective materials furnished in the performance of
ihe work has been discovered within such 24 month period and reported in writing to the
sald Council: and further. provided (in the case ofacceptance of a unit or units of the
improveméni work as it progresses) that no. damage his been done to the. required
improvement work so accepted by any, other work, undertaken by the, Subdivider or its

“surety.

, impravement security for dayment to the contractor, or any of his subcontractors of any

person renting equipment: or famishing labor or materials to them for the work of
improvement may. six (6) months after: the completion of the. -work of improvement and
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the making. of the order, for. its acceptance or + approval as ‘the case may Be, be reduced to
an amount not léss:than the total. of all claims on which an action has been filed-and
" notice. thereof’ given i in writing to.the Clty, sndif-ne such action is fled, such

improvement security may be released j in full.

9 COMPLETION BY SURETY ORCITY:

(a)

(by

(c)

Ifthe City Council, in the exercise of ils reasonable discretion, shall determine:

“(1 ‘That the Subdivider fias failed ta properly. and. fully complete ; all ofthe work of

improvement in accordance with this Agreement, and within the time (or any
extension of tintey provided herein; and |

(2), That the Subdivider has! failed OL neglect id ta begii work. or-any feature of the
‘work, within « time which:will reasenably allow iis completion within the time
(or any extension of! time). provided j in this Agreement: or . .

3) ‘That the Subdivider has ereated an unsafe or hazardous condition which requites
tintnediate correction:

(4) That the Subdivider. has abandoned any of the works or

: (3). . That the Sithdivider. has- taikid to. a keep the work under direct control-of a

superintenderit, manager enigineer or other competent agent.

(6) ‘That ihe Subdivider (ir he shall bea an individual) has: been declared incompetent

or placed under the care of a guardian o or conservator, or has disappeared: or

(7) That the Subdivider has fited a. petition. in. bankrupt or has been declared.
. bankrupt then the €iiy.Councif may determing to, and the Clly may give. the
Subdivider and its: Surety fourteen (14) days’ written Hotice.to proceed withthe,
. work, without, preludice: a “any other remedy, the Cily may have in Taw. or equity.

. if the Surety shall proceéd witht the work, the Sirety shall be subject two'all of the.
‘provisions of this Agreement, a5 in. the case oF the Subdivider. we

if the Subdivider or its Surety shall fail or neglect lo. proceed with thie work diligently and
in good faith in accordance with this. ‘Agreement after such notice has been given, the -
City may, thereafter, at fis sole option and without prejiidice fo any otter remedy, provide
the necessary supervision, equipment, matcriats and labor as it may determing necessary
to undertake and complete the work of improvement of any part thereof in the manner
required by this Agreement, by independent contract or by City forces, all for the. account

"and al the expense of the Subdivider, and.the Subdivider and its Surety shall be Hable to
“the City and ‘shall pay the City on demand, any expenses incurred by the City in the
‘course thereof. Co

10. INDEMNIFICATION PROVISIONS:

ta)

The Subdjvider. shalt: cand. it does hereby. agree to hold harmless and indemnity the City
and’ its Council, officers and employees,: trom every liability. claim, suit or demand. which
may arise or may be made by reason: oft ma

(1) Any act, ‘oinission OF neglect of we S Subdivider, its cnigineers, employees: ayents
or contractor, oF ,
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(2) Any injury to any. person, death of any person, or damage to any property.
'_ Sustained by any. person, firma or corporation while in or upon the parcel of. land
herein mentioned and for which the Subdivider' is legally liable (excepting
hegligence of the City, or its officers of employees); or oo

W Any injury to or death of the Subdivider or any, officer or employee of the
Subdivider, or any damage to the property af any such person, fim or
corporation, and for which the Subdivider is legally liable (excepting any

. ‘negligence of the Cily.or its officers or employees); or .

(4) ‘Any damage to ortaking.of any property arising from said plans, specifications
or profiles, or-arising from the work of construction of the conduct thereof.

“(by | The Subdivider at tts ows cost, expense and:risk shall defénd all legal proceedings which
may Be brouglit against the-City, its Council, officers and einplayees, omany liability. suit,

‘claim ordeniatid-which it has auiceditideminify them againsi herein, and shall satlsty any

resulting judgment that'may be rendered ayuinstanyofthem.. ©

(c) . Itis mutually dgrced.that.the Subdivider's surety under the iinprovement security for
- faithful performance-stiall:npt he déemed tlable for performance of any of the foregoing

* provisions of this section; unless said surety shall undertake the completion of any:

‘ improvement or the condiet.of work required:to be done under this Agreement, and:then
only to-thé extent of any act, omission or neglect of the Surety, its engineers, employges,.
agents.or contractors in the Cobrse of the completion of such improvements or the’

_ Conduct.ofisuch work by said Surety.

Hl. ATTORNEVS-FERSONSUIT: 0. 0 ow

ifany suit be brought by thie. City for terecovery of any sum due Under this Agreement, {Ge any
damages for the breach of this Agreement, or to compel performance of this Agreement, the.City
shall be entitled:to such ‘postion of such reasonable attorney's fees as tlie Court may determine, jin
addicon:to its cost-ol sult. , TT , ,

12. INSURANCE REQUIREMENTS:

{n} The. Subdivider shall at all times during the course of any of the impravement work, ’
-secure and maintain, and'shall cause its contractors 9 secure and maintain, in the manner
" required by law, workers" compensation insurance as required by the California Labor
Code and amendments thereto, and shall flenish to thé City sulisfactory evidence thereat:

{b) Tie Subdivider shall maintain, and pay. premiums on, a polley-of compreltensive liability
insurance in.the amounts given: belaw, in farm and with insurance companies satishhetory
‘to the City; containing aq chdorsement incliding; the Ciry, its Council, officers and |
_ employees-as additionalnamed insured. "78 So
(c) ‘The limits of said policy shall be in aragunts.not less than Bodily Injury; $500,000 per
‘person and $1,000,000 per Accident: and Propeity Damaye'$500,000 per accident and
$1,000,000 ageregate amount. “

(d) Prior io undertaking any work of construction. the Subdivider shall file with the City
“Clerk, a true copy of said poljcy.of insurange. wittethe endorsement thereon

aforementioned, certified by: the carver.
(ce) ‘The Subdivider shall confinue t so imdintain sald policy and pay the preinfums'thereon
“for a period oftone (1) year from and after the aéceprince oF approval, as the case may be,
of the entirety of the improvement work. oy ue
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(fy In case the estimated cost of the required work of improvement is found to be less-than
$10,000. the Cty Counci! may approve limits of insurance coverage in lesser amounts
than those specified in (c) above,

13. FEES: , Sa, Se .
The Subdivider.shall pay all fees and charges scheduled pursuant to the Wasco Municipal Code as
may be amended fram dime to time. Quimby. fees of $1,100, per resideace shall be due and payable

prior to.she issuance ofa building permit,

I. VALLEY ROSE ESTATES ZONE OF Beneierr, .
The Subdivider shall-pay all. fees and-charges scheduled pursuant(g Valley Rose Estates Zone of
Benefit, ‘These fees shall'be collected at the time a building permit is issued. This fee shall be in

the amount of'52.626.29 per building permit

5, FINALMAPFERD © 0 ya a
Pursuant to the Wasco Municipal Cade, the Subdivider shall:pay'a Public Works Final Map fee
which inclustes alt charges for cleckitig.and recording the Final Map-performed by the City. The
Subdivider agrees: that it has; or wilf'forthwith ‘deposit, with the F; inance Officer of the City, the
gmount-oF $3,100.00 (Three thousand one hundted'doliats). who cee

ms

16. PUBLIC'WORKS'INSPECTION-FEE: © 0-0 ee
Pursuant tothe Wasco Municipal C ode; the Subdivider shall pay'a Public Works Inspection fee.
which includes all charges for inspection by the City ofthe Subdivision, The Subdivider ayrees
that it-has, or will forthwith deposit, with.the Finance Officer of the City, the amouat of $2,434.77
(Two thousand four hundred and thirty four dollars and seventy seven cents.) ,

16, LANDSCAPE LIGHTING AND.MAINTENANCE DISTRICT:
Prior to any fot being sold to an individual buyer, the owner(s) shall agree to annex the entire
subdivision. into a Landscape Lighting and Maintenance District. If'a previously formed district is
unavailable, than the owner(s) shall form a separate Landscape, Lighting and Maintenance
District. ., , LO 4 ot :

17, ENGINEERING. FEE,
Pursuant to-the. Wasco Municipal’Code, the:Subdivider shalt pay an Engineering Fee. which
includes all charges for (improvement Plin ‘Check perforny d by the City. These fees have already

been paid. by the subdivider, Be , wo, OO So

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IN WITNESS WHEREOF, the

/ parties to this Agreement have executed the same‘on the day and
year first. mentioned: fierein. So

CHTY OF WASCO

jf a,

RECOMMENDED FOR “appv

eT

PPROVED AS TO.FORM’ |. |

ATTESE RY:

Vickle Hight ,

ER"

By. ge Gab for

Cc: files\waseulagreenents\yubditision.aer
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PROOF OF SERVICE
(FRCP No. 5(b)(2)(E)

I declare that I am over the age of eighteen (18) and not a party to this action. My
business address is 500 South Grand Avenue, Suite 1100, Los Angeles, California 90071.

On March 30, 2009, I served the following documents) DECLARATION OF CHAKA C.
OKADIGBO IN SUPPORT OF CROSS-COMPLAINANT CITY OF WASCO’S MOTION
REQUESTING LEAVE TO FILE A SUPPLEMENTAL PLEADING (AMENDED
CROSS-COMPLAINT) PURSUANT TO RULE 15(D) OF THE FEDERAL RULES OF
CIVIL PROCEDURE on the interested parties in this action by placing a true and correct copy|
of such document, enclosed in a sealed envelope, addressed as follows:

Jeffrey Travis Steven J. Hassing

Borton Petrini, LLP Law Offices of Steven J. Hassing
1600 Truxtun Ave. 425 Calabria Court

Bakersfield, CA 93301 Roseville, CA 95747
jtravis@bortonpetrini.com stevehassine@yahoo.com

William L. Alexander
Alexander & Associates

1925 G Street

Bakersfield, CA 93301
walexander@alexander-law.com

( ) BY MAIL: I am readily familiar with the business’ practice for collection and
processing of correspondence for mailing with the United States Postal Service. ]
know that the correspondence was deposited with the United States Postal Service
on the same day this declaration was executed in the ordinary course of business.
I know that the envelope was sealed and, with postage thereon fully prepaid,
placed for collection and mailing on this date in the United States mail at Los
Angeles, California.

(X) BY ELECTRONIC SERVICE: Pursuant to Fed. R. Civ. P. 5(b)(2)(E) and
Local Court Rules(s), the foregoing document will be served by the court via
CM/ECF, Pursuant to the CM/ECF docket for this case proceeding the following
person(s) are on the Electronic Mail Notice List to receive ECF transmission at
the email address(es) indicated above.

() (State) I declare under penalty of perjury under the laws of the State off
California that the above is true and correct.

( X) (Federal) I declare that I am employed in the office of a member of the bar
of this court at whose direction the service was made.

Executed March 30, 2009, Los Angeles, California.

* oo

Carolyn Doftinguez

